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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
 _________________________________________
  MONICA GRAY, AS EXECUTRIX OF
  THE ESTATE OF EARL GRAY, JR.
  AND AS TRUSTEE OF THE INTEREST CASE NO. 1:18-cv-01520-RMB-AMD
  OF JASMINE GRAY-OLIVER, JUSTIN
  GRAY, and JULIA WIECK, on behalf of
  themselves and all others similarly
  situated,
                       Plaintiffs,
                  v.
  CIT BANK, N.A, QBE INSURANCE
  CORPORATION, QBE FIRST
  INSURANCE AGENCY, INC., and MIC
  GENERAL INSURANCE
  CORPORATION,
                          Defendants.


  THE PARTIES’ JOINT SUPPLEMENTAL MEMORANDUM OF LAW IN
   FURTHER SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
    PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT,
   CERTIFYING CLASS FOR SETTLEMENT PURPOSES, DIRECTING
    THE ISSUANCE OF CLASS NOTICE, APPOINTMENT OF CLASS
     COUNSEL AND SCHEDULING FINAL APPROVAL HEARING
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       Plaintiffs’ Monica Gray, as executrix of the Estate of Earl Gray, Jr., and as

 trustee of the interest of Jasmine Gray Oliver, Justin Gray, and Julia Wieck,

 (collectively, “Plaintiffs”) and defendants CIT Bank, N.A., QBE Insurance

 Corporation, QBE FIRST Insurance Agency, Inc. and MIC General Insurance

 Corporation     (collectively,   “Defendants”),   respectfully   submit   this   Joint

 Supplemental Memorandum of Law in Further Support of Plaintiffs’ Motion for

 Preliminary Approval of Class Action Settlement, Certifying Class for Settlement

 Purposes, Directing the Issuance of Class Notice, Appointment of Class Counsel and

 Scheduling Final Approval Hearing.

 A.    The Amended Settlement Class

       In accordance with the Court’s directive at the December 6, 2019 hearing on

 preliminary approval, the parties seek to amend the Settlement Class1 to include any

 justice, judge, or magistrate judge of the United States or State, except those who

 are assigned to this matter. The revised Settlement Class thus is defined as follows:

               All Borrowers in the United States who, during the Settlement
               Class Period (February 2, 2012 through and including July 31,
               2018), were charged by Financial Freedom a Net Premium for
               an LPI Policy issued during the Settlement Class Period.

               Excluded from the Settlement Class are: (i) individuals who are
               or were during the Settlement Class Period officers or directors
               of Defendants or any of their respective Affiliates; (ii) any

 1
   Unless otherwise defined herein, capitalized terms have the meaning set forth in
 the Settlement Agreement.
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               justice, judge, or magistrate judge of the United States or
               State, assigned to this matter, their spouses, and persons
               within the third degree of relationship to either of them, or the
               spouses of such persons; (iii) borrowers who only had an LPI
               Policy that was cancelled in its entirety such that any premiums
               charged and/or collected were fully refunded to the borrower or
               the borrower’s escrow account; (iv) borrowers whose
               indebtedness on the residential property securing the reverse
               mortgage loan serviced by Financial Freedom has been
               compromised or discharged in bankruptcy or otherwise; and (v)
               all borrowers who file a timely and proper request to be
               excluded from the Settlement Class.
               (Emphasis added).

         This change will be reflected in the Notice and all exhibits for the Court’s

 consideration on preliminary approval.

 B.      The Girsh Factors Support Preliminary Approval

         The Third Circuit has adopted a nine-factor test to determine whether a

 settlement is “fair, reasonable, and adequate.” Girsh v. Jepson, 521 F.2d 153, 157

 (3d Cir. 1975). The elements of this test – known as the “Girsh factors” – are:

            (1) the complexity and duration of the litigation; (2) the reaction of
            the class to the settlement; (3) the stage of the proceedings; (4) the
            risks of establishing liability; (5) the risks of establishing damages;
            (6) the risks of maintaining a class action; (7) the ability of the
            defendants to withstand a greater judgment; (8) the range of
            reasonableness of the settlement in light of the best recovery; and
            (9) the range of reasonableness of the settlement in light of all the
            attendant risks of litigation.

      In re General Motors Corp. Pick-Up Truck Fuel Tank Prods. Liability Litig.,

      55 F.3d 768, 785 (3d Cir. 1995) (citing Girsh, 521 F.2d at 157). “These factors


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    are a guide and the absence of one or more does not automatically render the

    settlement unfair.” In re Am. Family, Enters., 256 B.R. 377, 418 (D.N.J.

    2000). An analysis of the Girsh factors weighs in favor of approval.

       1.     The Complexity, Expense, and
              Duration of Continued Litigation

       The first Girsh factor is whether the settlement avoids a lengthy, complex and

 expensive continuation of litigation. This factor “captures the probable costs, in both

 time and money, of continued litigation.” In re Cendant Corp. Litig., 264 F.3d 201,

 233-34 (3d Cir. 2001) (internal quotation marks omitted). “Where the complexity,

 expense, and duration of litigation are significant, the Court will view this factor as

 favoring settlement.” Bredbenner v. Liberty Travel, Inc., 2011 WL 1344745, at *11

 (D.N.J. Apr. 8, 2011). This factor undoubtedly weighs in favor of settlement.

       Here, due to the factual and legal complexities involved in this case, continued

 litigation would have been rigorously contested by all parties and would necessarily

 be expensive and time-consuming. See In re General Motors, 55 F.3d at 812

 (concluding that lengthy discovery and ardent opposition from the defendant with

 “a plethora of pretrial motions” were facts favoring settlements that offer immediate

 benefits and avoid delay and expense); Weiss v. Mercedes-Benz of North America,

 899 F. Supp. 1297, 1301 (D.N.J. 1995) (approving settlement that was the “result of

 an arm’s length negotiation between two very capable parties” and where “Mercedes

 was prepared to contest this class action vigorously.”). Indeed, in the similar Wieck
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 Action, the parties have engaged in extensive motion practice and discovery,

 including the production of thousands of pages of documents and two expert reports

 and the depositions of corporate representatives of CIT Bank and Seattle Specialty

 Insurance Services, Inc., an insurance provider affiliate of QBE Insurance. Had

 litigation continued, the parties in Gray would have been required to engage in

 similar, extensive discovery and in extensive motion practice involving class

 certification and summary judgment issues, and the testimony of experts would have

 been required at the class certification stage and at trial.     Hall v. AT&T Mobility

 LLC, 2010 WL 4053547, at *7 (D.N.J. Oct. 13, 2010) (that trial would have required

 substantial expert testimony weighed in favor of approving settlement); McCoy v.

 Health Net, Inc., 569 F. Supp. 2d 448, 460 (D.N.J. 2008) (same).

       The risks of substantial delay with continued litigation are palpable. As

 described above, although this case has been litigated for nearly two years, and the

 Wieck Action has been litigated for nearly three years, substantial additional work

 would be required before the case would be ready to bring to trial. Trial would

 involve extensive pretrial motions involving complex questions of law and fact, and

 the trial itself would be lengthy and complicated. See In re Warfarin Sodium

 Antitrust Litig., 391 F.3d 516, 536 (3d Cir. 2004) (finding the first Girsh factor to

 weigh in favor of settlement after three years of litigation).




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        Even if Plaintiffs were successful, post-trial motions and appeal would further

  delay resolution and increase costs because Defendants undoubtedly would appeal

  an adverse judgment, adding further time to a final resolution of this matter if

  litigation continued. Warfarin Sodium, 391 F.3d at 536 (“it was inevitable that post-

  trial motions and appeals would not only further prolong the litigation but also

  reduce the value of any recovery to the class”); In re Merck & Co., Inc. Vytorin

  ERISA Litig., 2010 WL 547613, at *7 (D.N.J. Feb. 9, 2010) (noting that additional

  costs associated with trial of multi-district class action and the delayed recovery for

  the class weighs in favor of settlement). A certain result now, rather than an

  uncertain result potentially several years down the road, weighs in favor of approval

  of the Settlement, particularly given the age of the Settlement Class Members. While

  claims can be filed by representatives of Borrowers’ estates or inheritors of

  Borrowers’ properties, the average age based on the dates of birth of the Borrowers

  associated with the LPI Policies at issue is 87 years. This raises the importance of

  obtaining relief through the Settlement as soon as practicable.

        For these reasons, the first Girsh factor weighs in favor of preliminary

  approval of the Settlement.

        2.     The Reaction of the Class to the Settlement

        The second Girsh factor “attempts to gauge whether members of the class

  support the Settlement.” In re Prudential Insurance Co. America Sales Practice


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  Litig., 148 F.3d 283, 318 (3d Cir. 1998). This factor will be evaluated after notice

  and an opportunity to be heard is provided to the Class.

        3.     The Stage of the Proceedings

        The stage of the proceedings and the amount of discovery completed is the

  third factor that courts consider in determining the fairness, reasonableness and

  adequacy of a settlement. In re General Motors, 55 F.3d at 785; Girsh, 521 F.2d at

  157. “This factor considers the degree of case development accomplished by

  counsel prior to settlement.” Bredbenner, 2011 WL 1344745 at *12. “Through this

  lens . . . courts can determine whether counsel had an adequate appreciation of the

  merits of the case before negotiating.” In re General Motors, 55 F.3d at 813. Here,

  the Parties briefed multiple motions to dismiss and engaged in discovery, both in the

  present case and more extensively in the related Wieck Action, including the

  production of thousands of pages of documents, two expert reports, and two 30(b)(6)

  depositions, prior to conducting arm’s length mediation before a third-party

  mediator. Access to and use of evidence from other related proceedings supports

  settlement approval. See In re General Motors, 55 F.3d at 813-14; see also P. Van

  Hove BVBA v. Universal Travel Grp., Inc., No. 11-2164, 2017 WL 2734714, at *7

  (D.N.J. June 26, 2017) (Vasquez, J.) (“[i]ndeed, courts in this district have approved

  settlements while the case was in the pre-trial stage and formal discovery had not yet



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  commenced”) (quoting Johnson & Johnson Derivative Litig., 900 F. Supp. 2d 467,

  482 (D.N.J. 2012)). This factor weighs in favor of settlement.

        4.     The Risks of Establishing Liability

        The fourth factor “examine[s] what potential rewards (or downside) of

  litigation might have been had class counsel decided to litigate the claims rather than

  settle them.” In re Cendant Corp. Sec. Litig., 264 F.3d 201, 237 (3d Cir. 2001)

  (quoting In re General Motors, 55 F.3d at 814). “The inquiry requires a balancing

  of the likelihood of success if the case were taken to trial against the benefits of

  immediate settlement.” In re Safety Components, Inc. Sec. Litig., 166 F. Supp. 2d

  72, 89 (D.N.J. 2001).

        Although Class Counsel believe that the claims presented in this litigation are

  meritorious, they are experienced counsel who understand that the “the risks

  surrounding a trial on the merits are always considerable.” Weiss, 899 F. Supp. at

  1301. Defendants have zealously defended against the claims here and in other cases

  involving LPI, and would surely continue to do so in the Gray Action if the case

  were to proceed to trial. The Settlement here presents the Settlement Class with real

  relief now. Further, although Plaintiffs are confident that their claims are legally

  sound, there is always the possibility that the Court may disagree. These risks

  include the potential denial of class certification, the granting of summary judgment,




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  and loss at trial or on appeal.       Thus, these inherently unpredictable risks in

  establishing liability weigh in favor of settlement.

        5.      The Risks of Establishing Damages

        “Like the fourth factor, [the fifth factor] ‘attempts to measure the expected

  value of litigating the action rather than settling it at the current time.’” Cendant,

  264 F.3d at 238. The court compares the potential damages award if the case were

  taken to trial against the benefits of immediate settlement. Prudential, 148 F.3d at

  319. In Warfarin Sodium, the trial court found that the risk of establishing damages

  strongly favored settlement, observing that “[d]amages would likely be established

  at trial through ‘a “battle of experts,” with each side presenting its figures to the jury

  and with no guarantee whom the jury would believe.’” In re Warfarin Sodium

  Antitrust Litig., 212 F.R.D. 231, 256 (D. Del. 2002), aff’d 391 F.3d 516, 537 (3d Cir.

  2004).     Similarly, in Cendant, the Third Circuit reasoned that there was no

  compelling reason to think that “a jury confronted with competing expert opinions”

  would accept the plaintiff’s damages theory rather than that of the defendant, and

  thus the risk in establishing damages weighed in favor of approval of the settlement.

  264 F.3d at 239.

        The same is true here. In the Wieck Action, Plaintiff Wieck submitted the

  expert reports of two damages experts, Birny Birnbaum and Phillip G. Cantrell.

  Similar reports would likely be submitted in the Gray Action. Defendants would

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  undoubtedly submit their competing expert reports, as defendants have in every LPI

  case that has reached the stage of expert discovery in which Class Counsel have been

  involved. Thus, the damages phase of a trial would come down to a battle of the

  experts. This factor weighs in favor of approving the settlement.

        6.     The Risks of Maintaining the Class Action through Trial

        Because the prospects for obtaining class certification have a great impact on

  the range of recovery, see In re General Motors, 55 F.3d at 817, the Court must

  measure the likelihood of obtaining and maintaining a certified class if the action

  were to proceed to trial. Girsh, 521 F.2d at 157. Class Counsel believe that this case

  is wholly appropriate for class certification in the litigation context. However, there

  is always a risk that a Court would find this action not suitable for class certification,

  or find it not suitable for litigation on a multi-state basis. See, e.g., Braynen v.

  Nationstar Mortg., LLC, 2015 WL 6872519, at *3 (S.D. Fla. Nov. 9, 2015) (“many”

  LPI cases were “denied class certification”); Christie v. Bank of Am., N.A., 2016 WL

  654818, at *8 (M.D. Fla. Jan. 7, 2016) (denying class certification in LPI case); Rapp

  v. Green Tree Servicing, LLC, 302 F.R.D. 505 (D. Minn. 2014) (same); Gustafson

  v. BAC Home Loans Servicing, LP, 294 F.R.D. 529 (C.D. Cal. 2013) (same). Indeed,

  the parties are not aware of a single nationwide class that has been certified in a LPI

  case alleging kickbacks, other than for settlement purposes. Further, even if class

  certification were granted in the litigation context, class certification can always be

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  reviewed or modified before trial, so “the specter of decertification makes settlement

  an appealing alternative.” Dewey v. Volkswagen of Am., 728 F. Supp. 2d 546, 585

  (D.N.J. 2010). Finally, even if a class were certified, there is no assurance that

  Plaintiffs would prevail at trial. In other words, class litigation is inherently

  uncertain. This factor weighs in favor of settlement approval.

        7.     Defendants’ Ability to Withstand Greater Judgment

        Although there is no dispute that Defendants have ample resources, countless

  settlements have been approved where a settling defendant has had the ability to pay

  greater amounts, and the Third Circuit has noted that this fact alone does not weigh

  against settlement approval. See, e.g., Warfarin Sodium, 391 F.3d at 538. This

  factor is generally neutral when the defendant’s ability to pay greatly exceeds the

  potential liability and was not a factor in settlement negotiations. CertainTeed, 269

  F.R.D. at 489 (“because ability to pay was not an issue in the settlement negotiations,

  this factor is neutral”); Warfarin Sodium II, 391 F.3d at 538 (“fact that [defendant]

  could afford to pay more does not mean that it is obligated to pay any more than

  what the . . . class members are entitled to under the theories of liability that existed

  at the time the settlement was reached”); Bredbenner, 2011 WL 1344745, at *15

  (“courts in this district regularly find a settlement to be fair even though the

  defendant has the practical ability to pay greater amounts”). Defendants’ resources,

  moreover, do not diminish the significance of the monetary consideration provided

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  under the Settlement, and a court evaluating settlements must “guard against

  demanding too large a settlement based on its view of the merits of the litigation;

  after all, settlement is a compromise, a yielding of the highest hopes in exchange for

  certainty and resolution.” In re General Motors, 55 F.3d at 806 (quoting Cotton v.

  Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977)).

        8.     Reasonableness of the Settlement in Light of the
               Best Possible Recovery And All Attendant Risks Of Litigation

        The final two Girsh factors are the reasonableness of the settlement in light

  of the best possible recovery and all the attendant risks of litigation. These factors

  support approval of this Settlement. This Settlement offers real economic benefits

  to Settlement Class Members. Under the Settlement Agreement, Defendants will

  issue checks to Settlement Class Members who submit a timely and valid claim in

  an amount equal to 10% of the Net Premium for each LPI Policy placed on their

  property during the period February 2, 2012 to May 7, 2013, and 6% of the Net

  Premium for each LPI Policy placed on their property during the period May 8,

  2013 to July 31, 2018. SA 4.7.1- 4.7.2

        Each Settlement Class Member’s potential claim amount will vary, depending

  on, for example, whether their LPI Policy was partially canceled and the Net

  Premium partially refunded, whether they had multiple LPI Policies placed on their

  property, and the total amount of their Net Premium, which itself will depend on

  various property and insurance factors. Thus, projecting average and median claim
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  figures may not accurately reflect any particular Settlement Class Member’s

  prospective claim. However, to provide a general estimation of the value of

  individual claims under the Settlement, below are the approximate median and

  average amounts for a Settlement claim, assuming each Settlement Class Member

  submits a claim based on a single LPI Policy (claims among Settlement Class

  Members with multiple LPI Policies would have correspondingly larger claim

  amounts).



               Class Period          Median recovery       Average recovery

         02/12/2012–05/07/2013
                                            $135                  $166
          10% of Net Premium

         05/08/2013–07/31/2018
                                             $66                   $82
           6% of Net Premium



        The reimbursement percentage amount depends on whether, during the

  Settlement Class Period, an affiliate of a predecessor to CIT Bank allegedly received

  a commission from the Insurance Defendants, or just allegedly received discounted

  loan services. Plaintiffs have alleged that both commissions and discounted loan

  services are types of unearned kickbacks, the actual cost of which is included in the

  LPI charges imposed on Plaintiffs and other Settlement Class Members.




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        Discovery has shown that prior to May 8, 2013, an affiliate of a predecessor

  to CIT Bank generated up to a 16% commission from the Insurance Defendants on

  the LPI Policies. As of May 8, 2013, that commission was discontinued. However,

  other forms of allegedly unearned benefits inured to CIT on the placement of the

  LPI policies as of May 8, 2013, including portfolio-wide, discounted loan services

  provided by the Insurance Defendants or their affiliates to CIT. While Defendants

  have strongly contested whether the alleged commission was in any way unlawful

  or improper, whether the Settlement Class Members suffered any damages as a result

  of the alleged commission, and whether the Settlement Class Members suffered any

  damages after the discontinuation of the alleged commission, Plaintiffs have argued

  that the actual cost of the portfolio-wide, discounted loan services was passed on to

  Plaintiffs and the Settlement Class and included in the LPI charges.

        Aided by expert reports and a skilled third-party mediator, Jonathan Marks,

  who has overseen the settlement of numerous LPI cases alleging kickbacks,2 the


  2
    See, e.g., Almanzar v. Select Portfolio Serv., Inc., 2016 WL 1169198, at *1 (S.D.
  Fla. Mar. 25, 2016) (granting final approval of class settlement in similar LPI case
  where the “settlement occurred only after the parties prepared over a period of many
  weeks for a mediation conducted by Jonathan Marks, Esquire, who has conducted
  numerous mediations involving [LPI] and is extremely familiar with the issues in
  these cases”); Hamilton v. Sun Trust Mortg., Inc., 2014 WL 5419507, at *2 (S.D.
  Fla. Oct. 23, 2014) (granting final approval of class settlement in similar LPI case
  where “the settlement occurred only after the parties mediated over a period of
  months with a nationally recognized and well respected mediator (Mr. Jonathan
  Marks) ….”); see also Hall v. Bank of Am., N.A., 2014 WL 7184039 (S.D. Fla. Dec.
  17, 2014) (same).
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  parties negotiated the reimbursement amounts of 10% and 6%, which respectively

  reflect whether a commission or other alleged benefit was generated from the

  placement of the LPI policies and the parties’ divergent views on any resulting

  damages to Plaintiffs and the Settlement Class. These reimbursement amounts are

  in line with other LPI cases alleging kickbacks where class settlements have included

  reimbursement of a percentage of the net written premium to settlement class

  members for commissions and/or discounted loan servicing fees or other alleged

  kickbacks. See, e.g., In re PHH Lender Placed Insurance Litig., 1:12-cv-01117-

  NLH-KMW (D.N.J. July 27, 2017) (providing class members submitting valid

  claims with refunds equal to either 11.5% (for the time period the LPI charge

  allegedly included a commission) or 6% of the net written premium (for the time

  period the LPI charge allegedly included an amount to offset the discounted loan

  servicing fees)) [In re PHH LPI Litigation Docket ECF 297]; Almanzar, 2016 WL

  1169198 (approving claims-made settlement where settlement class members would

  receive either 12.5%, 6.5%, or 5.% of the net written premium); Hall, 2014 WL

  7184039 (approving claims-made settlement returning 11%, 6.5%, or 5% of the net

  written premium); Diaz v. HSBC USA, N.A., No. 13-cv-21104, 2014 WL 5488161

  (S.D. Fla. Oct. 29, 2014) (approving claims-made settlement returning either 13%

  (for the time period in which the LPI charge allegedly included a commission) or

  6% of the net written premium (for the time period the LPI charge allegedly included


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  an amount to offset discounted loan servicing received by the loan servicer)); Fladell

  v. Wells Fargo, 2014 WL 5488167 (S.D. Fla. Oct. 29, 2014) (approving claims-made

  settlement where settlement class members would receive 11% of the net written

  premium during the period when defendants were allegedly receiving commissions

  for the placement of LPI, and 7% after the alleged commissions practices ceased);

  see also Quarashi v M&T Bank Corp., Case No. 3:17-cv-06675 (BRM)(DEA)

  (D.N.J. June 24, 2019) (granting final approval of settlement providing eligible class

  members with a credit or payment equal to 3%, 4.5% or 6% of the net written

  premium depending on when policy was placed and what type of alleged kickback

  was generated); Rickert v. Caliber Home Loans, Inc., Case No. 3:17-cv-06677

  (BRM)(DEA) (D.N.J. Apr. 1, 2019) (granting final approval of settlement providing

  eligible class members with a credit or payment equal to 3%, 4.5% or 6% of the net

  written premium depending on when policy was placed and what type of alleged

  kickback was generated); Smith v. Specialized Loan Servicing, LLC, Case No. 3:17-

  cv-06668 (BRM) (DEA) (D.N.J. April 1, 2019) (granting final approval of

  settlement providing eligible class members with a credit or payment equal to 3% or

  6% of the net written premium depending on when policy was placed and what type

  of alleged kickback was generated).3


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   See also Belanger v. Roundpoint Mortg. Serv. Corp., Case No. 17-23307 (S.D. Fla.
  Mar. 28, 2019) (granting final approval of claims-made settlement returning 6.75%
  of the net written premium to eligible settlement class members); Santos v. The
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        The Settlement, moreover, is well within the range of damages commonly

  approved in light of all attendant risks of litigation. Here, assuming a reimbursement

  of 16% of the Net Premium would equal 100% recovery, the 10% and 6%

  reimbursements of the Net Premium represent recoveries of approximately 62% and

  37.5%, respectively. See Barel v. Bank of Am., 255 F.R.D. 393, 402 (E.D. Pa. 2009)

  (approving a settlement with a value of 5% to 52% of the total potential damages

  range); In re Ikon Office Solutions, Inc., 194 F.R.D. 166, 183-84 (E.D. Pa. 2000)

  (approving a settlement that ranged from 5.2% to 36.4% of the potential recovery).

  C.    The Five-Year Period for Injunctive Relief Is Reasonable
        As discussed above, in addition to the monetary benefits to the Settlement

  Class, the Settlement also provides certain injunctive relief for a period of five years.

  Class Counsel believe that this provides additional, prospective value to the


  Carrington Companies, LLC, Case No. 2:16-cv-03679 (WHW) (CLW) (D.N.J. Oct.
  31, 2018) (granting final approval of claims-made settlement returning 12.5% of the
  net written premium to eligible settlement class members); Hamilton, 2014 WL
  5419507 (granting final approval of claims-made settlement returning 10.5% of the
  net written premium to eligible settlement class members); see also Circeo-Loudon
  v. Green Tree Serv., LLC, 2016 WL 8256853 (S.D. Fla. Aug. 30, 2016) (granting
  final approval of claims-made settlement returning 12.5% of the net written premium
  to eligible settlement class members); Montoya v. PNC Bank, N.A., 2016 WL
  1529902 (M.D. Fla. May 4, 2016) (same); Wilson v. EverBank, 2016 WL 457011
  (S.D. Fla. Feb. 3, 2016) (same); Braynen v. Nationstar Mortg., LLC, 2015 WL
  6872519 (S.D. Fla. Nov. 9, 2015) (same); Lee v. Ocwen Loan Serv., LLC, 2015 WL
  5449813 (S.D. Fla. Sept. 14, 2015) (same); Soccoccio v. JP Morgan Chase Bank,
  N.A., 297 F.R.D. 683 (S.D. Fla. Feb. 28, 2014) (same); Casey v. CitiMortgage, Inc.,
  No. 5:12-cv-820, Dkt. No. 234 (N.D.N.Y. Oct. 1, 2014) (granting final approval of
  claims-made settlement returning 8% of the net written premium to eligible
  settlement class members).
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  Settlement Class, as well as an additional value to non-Settlement-Class-Members

  who may, in the future, require LPI services. The Insurance Defendants are

  amenable to this injunctive relief because they already have voluntarily changed

  certain insurance practices to align with these requirements, and they view the five-

  year duration as a reasonable compromise among the parties in the course of

  settlement negotiations.    The five-year duration provides certainty as to the

  Insurance Defendants’ LPI practices in the near term, while also providing the

  Insurance Defendants the flexibility to implement any necessary changes to their

  practices in the event the insurance or regulatory landscape changes in the future.

        Several class settlements in similar LPI cases alleging kickbacks have been

  approved where the agreed-upon injunctive relief was limited to a five-year period.

  See, e.g., Smith, Case No. 3:17-cv-06668; Rickert, Case No. 3:17-cv-06677; Santos,

  Case No. 2:16-cv-03679; In re PHH, Case No. 1:12-cv-01117; Quarashi, Case No.

  3:17-cv-06675; see also Belanger, Case No. 17-23307; Circeo-Loudon, Case No.

  14-CV-21384; Montoya, 2016 WL 1529902; Almanzar, 2016 WL 1169198; Wilson,

  2016 WL 457011; Braynen, 2015 WL 6872519; Lee, 2015 WL 5449813; Hall, 2014

  WL 7184039; Diaz, 2014 WL 5488161; Fladell, 2014 WL 5488167. The five-year

  period of injunctive relief is particularly sufficient here, where the average age based

  on the dates of birth of the Borrowers associated with the LPI Policies at issue is 87

  years. See Section III.A.1, supra.


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                                    CONCLUSION

        For the foregoing reasons, the Parties respectfully request that the Court grant

  this Motion for Preliminary Approval, and enter the Proposed Order which, inter

  alia: (1) grants preliminary approval of the Settlement as fair, reasonable, and

  adequate, and in the best interests of the Settlement Class Members; (2) certifies the

  proposed Settlement Class for settlement purposes only; (3) appoints the law firms

  of Law Office of Roosevelt N. Nesmith, LLC and Giskan, Solotaroff & Anderson,

  LLP as Class Counsel; (4) approves the form and content of, and directs the

  distribution of the proposed Class Notice and accompanying Claim Form

  Instructions and Claim Form, and authorizes and directs Defendants to retain one or

  more Settlement Administrator(s) to implement the terms of the Settlement

  Agreement; and (5) schedules a Final Approval Hearing not earlier than 120 days

  after Preliminary Approval is granted.

  Dated: January 24, 2020

  Respectfully submitted,

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